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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 23, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                                                       §
                                          Debtor.
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                          Plaintiff,                   §   Adversary Proceeding No.
                                                                       §
         vs.                                                           §   21-03005-sgj
                                                                       §
         NEXPOINT ADVISORS, L.P.,                                      §
                                                                       §
                                          Defendant.                   §

                   ORDER GRANTING DEBTOR’S UNOPPOSED MOTION FOR LEAVE
                          TO SERVE AND FILE AMENDED COMPLAINT

                  Before the Court is the Debtor’s Unopposed Motion for Leave to Serve and File Amended

     Complaint [Docket No. 55] (the “Motion”), filed by Highland Capital Management L.P, the debtor


     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

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and debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

Case”) and the plaintiff in the above-captioned adversary proceeding (the “Adversary

Proceeding”), requesting leave to file its Amended Complaint for (I) Breach of Contract, (II)

Turnover of Property, (III) Fraudulent Transfer, and (IV) Breach of Fiduciary Duty (the

“Amended Complaint”), attached to the Motion as Exhibit B. Having considered (i) the Motion

and the arguments set forth therein, (ii) the Amended Complaint annexed to the Motion, and (iii)

the Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues, attached to

the Motion as Exhibit C; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and this Court having found that venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the Debtor’s notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and that no other notice need

be provided; and this Court having determined that the legal and factual bases set forth in the

Motion establish good cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor and for the

reasons set forth in the record on this Motion, it is HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Debtor is deemed to have served the Amended Complaint on the defendant on

July 13, 2021, the Service Date (as defined in the Motion).

        3.       The Debtor is hereby granted leave to file its Amended Complaint.

        4.       This Court shall retain jurisdiction with respect to all matters arising from or

relating to the implementation, interpretation, and enforcement of this Order.


                                    ### END OF ORDER ###




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